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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF AARON S. CRAIG
                                               IN SUPPORT OF DEFENDANTS NSO
13               Plaintiffs,                   GROUP TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED’S MOTION FOR SANCTIONS
                                               AGAINST PLAINTIFFS WHATSAPP
15   NSO GROUP TECHNOLOGIES LIMITED            INC., FACEBOOK, INC., AND THEIR
     and Q CYBER TECHNOLOGIES LIMITED,         COUNSEL
16
                 Defendants.                   Date:   April 16, 2020
17                                             Time:   9:00 a.m.
                                               Ctrm:   E
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19                                             Action Filed: 10/29/2019
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     DECLARATION OF AARON S CRAIG                                   Case No. 3:19-cv-07123-JSC
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 1          I, Aaron S. Craig, declare as follows:

 2          1.      I am a member of the California State Bar and the bar of this court and a partner in

 3   the law firm of King & Spalding LLP, counsel to NSO Group Technologies Limited and Q Cyber

 4   Technologies Limited (“Defendants”), defendants in this action. I have personal knowledge of the

 5   facts set forth herein and, except as otherwise stated, could testify competently to each fact herein.

 6          2.      My hourly rate in this action is $1,057.50. My partner Joseph N. Akrotirianakis’s

 7   hourly rate is $1,071.

 8          3.      On March 5 and 6, 2020, I spent at least twenty hours drafting, revising and

 9   finalizing the Application of Defendants NSO Group Technologies                Limited and Q Cyber

10   Technologies Limited to Set Aside Default and to Enlarge Time to File Responsive Pleading to

11   Complaint [Dkt. No. 24] and the supporting declarations and proposed order (the “Application”).

12   At least ten hours of this time was spent on the portion of the Application relating to the setting

13   aside of the default.

14          4.      On March 5 and 6, 2020, Mr. Akrotirianakis spent at least five hours drafting,

15   revising, and finalizing the portion of the application relating to the setting aside of the default.

16          5.      On March 3, 2020, Mr. Akrotirianakis and I jointly researched and wrote a letter to

17   Plaintiffs’ counsel Travis LeBlanc, Esq., of Cooley LLP, notifying him of his ethical obligation

18   not to knowingly make a false statement of fact or law to a tribunal and to correct a false statement

19   of material fact or law previously made to the tribunal by the lawyer. Mr. Akrotirianakis and I

20   each spent in excess of 0.5 hours on this letter.

21          6.      NSO Group and Q Cyber will be billed $11,103.75 for the 10.5 hours I spent on

22   these matters seeking to set aside the default that the Court entered after Facebook lied about Hague

23   Convention service. They will also be billed $5,890.50 for the 5.5 hours that Mr. Akrotirianakis

24   spent on these matters seeking to set aside the default that the Court entered after Facebook lied to

25   it about Hague Convention service. The sum of these amounts is $16,994.25.

26          7.      The hourly rates for myself and Mr. Akrotirianakis are both reasonable and typical

27   in Los Angeles County for attorneys of comparable qualifications, skill level, and experience in

28   matters of the type and complexity of this matter, and on a number of occasions, other courts have

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 1   determined our hourly rates are reasonable for our qualifications, experience, and skill level.

 2          8.      I graduated from Yale University in 1995 and Yale Law School in 1999, where I

 3   was an editor on the Yale Law Journal. I began practicing at Quinn Emanuel in 1999, and I have

 4   been a partner in three law firms, including in King & Spalding which I joined in April 2017. King

 5   & Spalding is a global firm with more than 1,000 attorneys in more than twenty offices. I am a

 6   partner in King & Spalding’s Trial and Global Disputes practice group. I am an experienced

 7   litigator and trial lawyer with experience across a broad spectrum of industries, including computer

 8   systems and software and semiconductors. I have represented companies such as Allergan, Micron

 9   (in a jury trial in the Northern District of California), Nokia, Seiko Epson, Parsons, Johnson &

10   Johnson, Avery Dennison, Mattel, and Shell in high profile commercial litigation and intellectual

11   property litigation in federal and state courts as well as before the International Trade Commission.

12   I have been lead counsel or co-lead counsel in three jury trials and several other court trials. In

13   between college and law school, I worked as a technology analyst at the technology research and

14   advisory firm META Group in Stamford, CT (subsequently acquired by Gartner Group).

15          9.      In May 1998, Mr. Akrotirianakis graduated second in his class of almost 400 from

16   Loyola Law School, magna cum laude, Order of the Coif, as a Sayre MacNeil Scholar, and as a

17   member of the St. Thomas More Law Honor Society. He served as a law clerk to the late

18   Honorable Harry Pregerson, United States Court of Appeals for the Ninth Circuit. He then started

19   practicing as a business litigator and trial lawyer at Quinn Emanuel in 1999. Mr. Akrotirianakis

20   has practiced before all levels of federal and California courts in matters involving commercial

21   disputes, intellectual property, government contracts, civil rights, and health care regulatory

22   investigations and enforcement actions, among others. His clients included Fortune 1000

23   companies, the largest health plan in the United States, corporate officers, the Mayor of Los

24   Angeles, and members of the Los Angeles City Council, police commissioners, and chiefs of

25   police. He has litigated a number of matters in the Bay Area, including before the United States

26   District Court for the Northern District of California.

27          10.     In 2005, Mr. Akrotirianakis began working as an Assistant United States Attorney

28   (“AUSA”) for the Central District of California, a position in which he served for seven and a half

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 1   years. As an AUSA, Mr. Akrotirianakis investigated and prosecuted complicated fraud and

 2   financial crimes, political and law enforcement corruption, racketeering, and various other

 3   violations of federal law. In recognition of his accomplishments and skill as a trial lawyer, he

 4   received a number of awards and commendations for his performance as an AUSA, including the

 5   Director’s Award for Superior Performance from the United States Attorney General and the

 6   United States Immigration and Customs Enforcement Director’s Excellence in Law Enforcement

 7   Award. In addition, Mr. Akrotirianakis was invited to serve, and for several years did serve, as a

 8   faculty member at the Department of Justice’s National Advocacy Center. In that role, he trained

 9   federal prosecutors from across the nation in trial advocacy.

10          11.     Since resigning his appointment as an AUSA in March 2013, Mr. Akrotirianakis

11   has been a partner in three law firms, including King & Spalding, where he is also a partner in the

12   Trial and Global Disputes practice group. Over the course of his career, he has been lead counsel

13   or co-lead counsel in more than 30 jury trials, court trials, arbitrations, and international

14   arbitrations, including approximately 20 jury trials.

15          12.     In a 2015 published opinion, Universal Electronics, Inc. v. Universal Remote

16   Control, Inc., 130 F. Supp. 3d 1331, 1337 (C.D. Cal. 2015), the District Court held that that law

17 partners in Los Angeles County and Orange County engaged in commercial intellectual property-

18 related cases regularly then billed in the range of $600-$1,100 per hour. I have first-hand

19 knowledge that since 2015, billing rates have increased substantially for the type of commercial

20 and IP litigation practiced by myself and Mr. Akrotirianakis. Moreover, King & Spalding has

21 offices in San Francisco and Palo Alto, and rates for complex commercial litigation practices in

22 the Bay Area are at least the same as Los Angeles and Orange County. The rates charged to the

23 defendants in this case are reasonable and typical.

24          I declare under the penalty of perjury and the laws of the United States that the foregoing

25 is true and correct this 9th day of March 2020, at Los Angeles, California.

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                                                  /s/Aaron S. Craig
27                                                  Aaron S. Craig
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     DECLARATION OF AARON S CRAIG                      3                       Case No. 3:19-cv-07123-JSC
